      Case 2:11-cv-03695-RDP     Document 40    Filed 04/25/13   Page 1 of 2            FILED
                                                                               2013 Apr-25 PM 03:30
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

DRUMMOND COMPANY, INC.,                  )
                                         )
                                         )
      Plaintiff ,                        )
                                         )
                                         )
vs.                                      )
                                         )
TERRENCE P. COLLINGSWORTH,               )     Case No. 2:11-cv-3695-RDP
                                         )
individually and as agent of Conrad &    )
Scherer, LLP; and CONRAD &               )
SCHERER, LLP,                            )
                                         )
                                         )
      Defendants .                       )


                    NOTICE OF COMPLIANCE WITH ORDER

      Drummond Company, Inc., through the undersigned counsel, hereby

provides notice to the Court of the compliance with the Court’s Order (Doc. 39)

conditionally granting the Motion for Admission Pro Hac Vice of Sara E. Kropf.

The $50 filing fee was paid on April 24, 2013, and attached as Exhibit A is the

declaration of Ms. Kropf certifying that she has read and understands the local

rules applicable in this District, the Alabama State Bar Pledge of Professionalism

and this court’s CM/ECF requirements.



Dated:       April 25, 2013
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                                 Respectfully submitted,

                                 /s/ H. Thomas Wells, III
                                 William Anthony Davis, III (ASB-5657-D65W)
                                 H. Thomas Wells, III (ASB-4318-H62W)
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                                 Attorneys for Drummond Company, Inc.




                          CERTIFICATE OF SERVICE

      I hereby certify that on April 25, 2013, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to the following:

Bradley J. Smith, Esq.
Clark, Hair & Smith, P.C.
1000 Urban Center Drive
Suite 125
Birmingham, Alabama 35242

                                 /s/ H. Thomas Wells, III
                                 H. Thomas Wells, III (ASB-4318-H62W)




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